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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )       4:06CR3040-2
                                                     )
               v.                                    )
                                                     )       ORDER
NOE GUSTAVO CHAVEZ LOYA,                             )
                                                     )
                                                     )
                       Defendant.                    )

      This matter comes before the Court on the plaintiff's Motion to Extend Deadline for Filing
Response, filing 96.

        The Court, being advised in the premises, finds that the Motion should be granted. The
plaintiff is given until February 2, 2007 to file a response to the defendant's Motion to Reopen and
to Assert Objections to the Report and Recommendation Concerning Suppression Issues.

       Dated this 31st day of January, 2007.

                                                     BY THE COURT

                                                     s/ Warren K. Urbom
                                                     United States Senior District Judge
